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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


U.S. BANK NATIONAL ASSOCIATION,                   Civil File No. __________________

                      Plaintiff,

vs.
                                                      VERIFIED COMPLAINT
JAMES KIRK, DARCY
FREDERICKSON, AND JASON
BEUMER,

                      Defendants.


       Plaintiff U.S. Bank National Association (“U.S. Bank”), for its Verified Complaint

against Defendants James Kirk (“Kirk”), Darcy Frederickson (“Frederickson”), and Jason

Beumer (“Beumer”) (collectively, “Defendants”), hereby alleges as follows:

                                    INTRODUCTION

       1.     This is an action for damages and equitable relief based upon Defendants’

violations and continued violations of their contractual, statutory, and common law duties

owed to U.S. Bank.

       2.     Private Wealth Management (“PWM”) is a division of U.S. Bank that

provides end-to-end wealth management services to customers who have a net worth

ranging from approximately $3 million to $75 million. PWM helps its customers build and

preserve wealth and use it wisely, as well as supporting the people and causes they care

about. Like other customers of U.S. Bank, PWM customers expect that their information

will remain confidential and not be disclosed by U.S. Bank to any person not affiliated with

U.S. Bank. U.S. Bank has policies, procedures, and agreements in place to protect its (and
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its clients’) confidential information. In addition, U.S. Bank expects that its confidential

and proprietary information, including trade secrets, will not be disclosed to any third

person or used in connection with any activity competitive with U.S. Bank.

        3.    Defendants were employed by U.S. Bank for periods ranging from 10 to 27

years, including legacy banks. As an express condition of their employment, Kirk,

Frederickson, and Beumer each signed a contract agreeing to restrictions on their use and

disclosure of any confidential information belonging to U.S. Bank or its customers, and

also agreeing not to solicit certain clients of U.S. Bank after the end of their employment.

Frederickson signed a contract in 2003 when she became eligible to participate in the U.S.

Bancorp Stock Incentive Program.

        4.    When Defendants resigned from U.S. Bank on April 15, 2025, Kirk was

employed as a Private Wealth Advisor, Frederickson was employed as a Wealth Strategist,

and Beumer was employed as a Managing Director at PWM’s location in Minneapolis,

Minnesota. During their employment at U.S. Bank, Defendants were the face of U.S. Bank

to many important PWM customer relationships and received access to U.S. Bank trade

secrets, including confidential information about those relationships. In addition, U.S.

Bank encouraged Defendants to use U.S. Bank resources—and they did use U.S. Bank

resources—to foster relationships with these customers by providing them superior service

and otherwise by fostering, growing, and deepening the customer’s relationships with U.S.

Bank.

        5.    Defendants each worked primarily with PWM customers with a net worth of

approximately $10 million to $75 million each, while some of the customers Defendants


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served had a net worth well in excess of $75 million. Collectively, Defendants serviced

U.S. Bank relationships worth over $4 billion in assets under management at the time they

resigned.

       6.     Defendants had access to confidential information including, but not limited

to: (1) confidential client information such as client contact information, center of influence

contact information, prospect contact information, assets under management, accounts,

notes on meetings and client interactions, integrated information from banking and trust

systems, and marketing resources; (2) securities information such as the total assets of a

client, including those not under management, the performance of accounts, ticklers,

account contacts, and interested parties; (3) the fee each respective client is paying; (4)

goals-based and cash flow-based planning tools, externally linked accounts of clients’

aggregated outside assets, and client personal financial goals; (5) client trust documents

and estate plans; and (6) other estate planning, financial, and tax information that clients or

their outside advisors shared with Defendants or other client team members for financial

planning conversations.

       7.     In addition, Kirk had access to the banking mainframe, including but not

limited to nearly all U.S. Bank customers’ deposit and credit accounts, account remarks,

transactions, and the banking image system.

       8.     On April 15, 2025, Defendants submitted nearly identical letters of

resignation to U.S. Bank. The letters announced Defendants were resigning effective

immediately, that they conducted themselves in accordance with the terms of their

employment, and that any questions may be directed to their shared attorney. True and


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correct copies of the resignation letters submitted by Defendants are attached hereto as

Exhibit A–C.

       9.     On the same day as Defendants’ resignations, RBC Wealth Management

facilitated the publication of an online article regarding Kirk’s departure from U.S. Bank.1

The article states that Kirk was joining RBC Wealth Management “with more than $1

billion in assets under management”—despite having resigned from U.S. Bank that very

day—and quotes two of RBC Wealth Management’s senior directors. Similar articles were

published in the following days that touted the ten-figure portfolio that Kirk had already

brought to RBC Wealth Management.2

       10.    On April 15, 2025, Defendants called their direct managers to inform them

of Defendants’ resignations. When Frederickson called her direct manager, Dan Farley,

Mr. Farley reminded her of her restrictive covenants. Kirk and Beumer left voicemails for

their direct managers. Heather Patrek was Kirk’s direct manager and she returned his call,

but he did not answer and did not return her call. Defendants access to U.S. Bank’s system

was shut off shortly after their resignations were submitted.



1
  See Advisor Magazine, Jim Kirk Joins RBC Wealth Management in Minneapolis,
https://www.lifehealth.com/people/jim-kirk-joins-rbc-wealth-management-in-
minneapolis/ (Apr. 15, 2025).
2
  See, e.g., Mergers & Acquisitions, RBC Wealth Management Adds Jim Kirk,
https://www.themiddlemarket.com/latest-news/rbc-wealth-management-adds-jim-kirk
(Apr. 16, 2025); Family Wealth Report, Who’s Moving Where in Wealth Management? –
RBC       Wealth     Management,       Advisory    Services   Network,     Others,
https://www.familywealthreport.com/article.php/Who%E2%80%99s-Moving-Where-In-
Wealth-Management%3F-%E2%80%93-RBC%C2%A0Wealth-Management%2C-
Advisory-Services-Network%2C-Others?id=204200 (Apr. 17, 2025).


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       11.    On April 17, 2025, U.S. Bank sent a letter to Defendants’ counsel, reminding

them of their contractual and legal obligations and demanding that Defendants comply with

those obligations. The letter informed Defendants that U.S. Bank had discovered that

Defendants were engaged in conduct that appeared to violate their contractual obligations

to U.S. Bank, and that U.S. Bank would pursue legal action if they did not cease and desist

any further violations immediately. The letter also required written confirmation that

Defendants would cease any and all conduct in violation of her contractual obligations by

close of business on April 18, 2025. The letter noted that U.S. Bank’s investigation was

continuing, and U.S. Bank reserved all rights. Finally, the letter also requested the

passcodes for each Defendant’s company-owned cell phone. A true and correct copy of the

letter sent to Defendants’ counsel is attached hereto as Exhibit D.

       12.    On April 21, 2025, Defendants’ counsel sent an email to U.S. Bank agreeing

to provide the requested passcodes and claiming that the Defendants were in compliance

with their obligations to U.S. Bank. Defendants’ counsel further claimed that Defendants

“deleted all US Bank client info from their phones before they joined RBC.” Defendants’

counsel’s email did not address the serious allegations that Defendants had been actively

soliciting U.S. Bank customers in violation of their agreements, nor did it explain how

Defendants could have contacted customers if they had deleted all client information from

their phones as their counsel claimed. A true and correct copy of the email is attached

hereto as Exhibit E. Based upon information collected by U.S. Bank, the statement from

Defendants’ counsel that Defendants “are complying with their obligations owed to US

Bank, they do not have any confidential US Bank information, and they deleted all US


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Bank client info from their phones before they joined RBC” is false, and did not fully

answer the question of whether Defendants have solicited or induced clients to terminate

their relationships with U.S. Bank.

       13.    Notwithstanding the representations from Defendants’ counsel, U.S. Bank

has learned that Defendants have violated their contractual obligations to U.S. Bank.

       14.    U.S. Bank has endeavored to personally contact every customer that worked

with any of the three Defendants to provide these customers with information about who

will handle their account going forward and to answer any questions the customers may

have about their accounts. Because Defendants worked with so many customers, these

efforts are ongoing.

       15.    Based upon U.S. Bank’s initial investigation, Defendants have aggressively

pursued current U.S. Bank customers since their departures—including on or about the day

of their resignations—contacting numerous U.S. Bank customers to induce them to leave

U.S. Bank or otherwise to solicit their business. In those contacts, among other things,

Defendants have encouraged clients to move their accounts away from U.S. Bank. For

example, during those discussions, Frederickson has disparaged U.S. Bank, noting the

reasons why she left, and warning clients about her alleged discomfort with the direction

of U.S. Bank, which she claimed was “bad” for U.S. Bank customers. In addition to being

disparaging, these statements are false.

       16.    Many of the customers U.S. Bank has contacted have shared that one of the

Defendants contacted them on or after April 15, 2025. To date, 24 customers have




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confirmed that they were contacted by one or more of the Defendants during this

timeframe.

        17.   For example, one of the customers contacted by Frederickson stated that

Frederickson offered to move the client’s relationship to RBC Wealth Management and

tried to persuade the client to do so by stating that the client’s new Portfolio Manager at

RBC Wealth Management would be the former boss of their current Portfolio Manager at

U.S. Bank.

        18.   Another customer confirmed in writing that they were contacted by Kirk on

April 18, 2025, and stated that they would be “considering” their “next steps” after that

call.

        19.   Multiple customers reported that the calls they received from Kirk,

Frederickson, and/or Beumer were for the purpose of encouraging the customer to move

their business from U.S. Bank to Defendants’ new employer, RBC Wealth Management.

        20.   There was no legitimate business reason for Defendants to contact any of

U.S. Bank’s customers on or after April 15, 2025.

        21.   The names and contact information of U.S. Bank’s customers are not public

information; the only way Defendants could have contacted these customers after their

resignation would be if Defendants took confidential information with them after they

resigned.

        22.   At the time they abruptly resigned, Kirk and Beumer both had upcoming

meetings on their calendar with one or more customers. When U.S. Bank spoke to one

customer who had such a meeting scheduled with Kirk, U.S. Bank asked the customer to


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meet with their newly assigned private wealth advisor during the same time they had

previously planned to meet with Kirk. The customer declined to meet at that time, stating

they had another commitment. The customer later informed U.S. Bank that he signed

paperwork to move his relationship to RBC Wealth Management with Kirk and Beumer,

and on April 24, 2025 U.S. Bank received an email from RBC Wealth Management

inquiring about where to send the transfer paperwork.

       23.    U.S. Bank’s efforts to speak with each and every one of the customers

previously assigned to Defendants is ongoing. For the 24 customers that have verified they

were solicited by one or more of the Defendants thus far, these customers account for

combined assets under management of nearly $700 million and $4 million in annual

revenue.

       24.    If even a fraction of these customers move their business from U.S. Bank to

RBC Wealth Management as a result of Defendants’ solicitation efforts, it will be very

difficult to calculate the lost revenue and lost profits that U.S. Bank will experience because

variables such as investment growth, contributions, distributions, length of future

relationship, and beneficial introductions the client could make to the U.S. Bank team

would all contribute to U.S. Bank’s losses.

       25.    At least one U.S. Bank customer that was solicited by Defendants has

informed U.S. Bank that they are moving their business to RBC Wealth Management.

Client A confirmed to U.S. Bank that they had been contacted by Kirk and Beumer as of

April 17, 2025. U.S. Bank made efforts to retain Client A’s business, including making

prompt introductions to new advisors and offering the client financial incentives. Despite


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these efforts, Client A informed U.S. Bank on April 25, 2025 that they would be moving

their business to RBC Wealth Management to work with Kirk and Beumer.

       26.       Defendants have also contacted multiple U.S. Bank employees since their

sudden resignations. One current employee told a U.S. Bank representative that

Frederickson told him words to the effect of, “Don’t worry, we’re not going to go after

your clients.”

       27.       Accordingly, having reminded Defendants of their contractual obligations

and receiving false and/or misleading representations in response, U.S. Bank is left with

no choice but to file its Complaint and to seek emergency injunctive relief.

                                           PARTIES

       28.       Plaintiff U.S. Bank is a national banking association, with its principal place

of business in Cincinnati, Ohio. U.S. Bank’s corporate headquarters are located in

Minneapolis, Minnesota.

       29.       Defendant James Kirk is an individual domiciled in Minneapolis, Minnesota.

       30.       Defendant Darcy Frederickson is an individual domiciled in Minneapolis,

Minnesota.

       31.       Defendant Jason Beumer is an individual domiciled in Minneapolis,

Minnesota.

                               JURISDICTION AND VENUE

       32.       This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C.

§ 1332(a) because it is an action between citizens of different states and the amount in




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controversy exceeds $75,000. Specifically, U.S. Bank is a citizen of Ohio, with its

corporate headquarters in Minnesota, and Defendants are citizens of Minnesota.

       33.    Under 28 U.S.C. § 1348, national banking associations are citizens of the

states where they are located for purposes of all actions against them. The Supreme Court

has interpreted this provision to mean that a national banking association is a citizen of the

state in which the association has its main office, as set forth in its articles of association.

See Wachovia Bank, Nat’l Ass’n v. Schmidt, 546 U.S. 303, 318 (2006). As confirmed by

the list of active national banks maintained by the U.S. Department of Treasury—Office

of the Comptroller of the Currency, U.S. Bank is a national banking association with its

main office located        in Ohio. See Nat’l Banks Active                As of 3/31/2025,

https://www.occ.treas.gov/topics/charters-and-licensing/financial-institution-lists/

national-by-name.pdf.

       34.    Venue and jurisdiction are proper in this Court for multiple reasons:

(1) Defendants’ agreements with U.S. Bank contain Minnesota forum selection and/or

choice of law clauses, (2) Defendants attended training either in person and/or virtually in

Minnesota, conducted by persons in Minnesota, from U.S. Bank’s corporate headquarters

in Minnesota, (3) Defendants utilized and logged into U.S. Bank’s server located in

Minnesota to view client and other confidential and proprietary U.S. Bank information,

including its trade secrets, and (4) because the harm was directed, at least in part to

Minnesota and this district. Specifically, Defendants Kirk and Beumer 3 agreed that


3
       The agreement between Frederickson and U.S. Bank does not contain a forum
selection clause, but contains a Minnesota choice of law provision.

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“[v]enue for all disputes between the parties, including those related to this Agreement,

shall be with a state or federal court located within Hennepin County, Minnesota.”

Defendant Frederickson similarly agreed that her “Agreement will be governed by the laws

of the State of Minnesota.”

                              FACTUAL ALLEGATIONS

I.     Defendants’ Employment with and Contractual Obligations to U.S. Bank

       35.    U.S. Bank succeeds as a business, in part, because of its valuable

relationships and goodwill with its customers and prospective customers. U.S. Bank has

successfully developed these important relationships through execution of its strategic

vision, including through substantial investments in building and fostering trust with its

PWM customers. An important part of building and fostering this trust is U.S. Bank’s

careful protection of its confidential information, which includes its customers’

confidential information and other U.S. Bank trade secrets (“Confidential Information”).

       36.    U.S. Bank’s Confidential Information has been developed by U.S. Bank

through significant time and financial investments. It is not readily ascertainable to others

by proper means because U.S. Bank has taken numerous steps to protect its secrecy. The

Confidential Information derives economic value from the fact that it is not known to others

who can obtain economic value from its disclosure. Such information would be

exceedingly valuable to a competitor.

       37.    U.S. Bank takes reasonable measures to safeguard its Confidential

Information and keep such information secret.




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       38.    For example, U.S. Bank password-protects its computer networks and uses

network security to limit various drives on its computer network. Access to U.S. Bank’s

facilities is restricted to authorized personnel and requires identification and authorization.

Access to U.S. Bank’s information system facilities is restricted to authorized personnel

who possess a unique user identification and password combination. U.S. Bank employees

must use keycards to access its offices.

       39.    In addition, U.S. Bank communicates to its employees that they must treat

certain information, including the Confidential Information at issue in this action, as

confidential. In accordance with its standard practice, U.S. Bank communicated that

message to Defendants when they became employees of U.S. Bank.

       40.    Kirk, Frederickson, and Beumer were employed by U.S. Bank for 10, 27, and

13 years, respectively. When Defendants resigned from U.S. Bank on April 15, 2025, Kirk

was employed as a Private Wealth Advisor, Frederickson was employed as a Wealth

Strategist, and Beumer was employed as a Managing Director at PWM’s location in

Minneapolis, Minnesota.

       41.    On May 4, 2015, Kirk signed a Confidentiality and Non-Solicitation

Agreement with U.S. Bank. A true and correct copy of Kirk’s Confidentiality and Non-

Solicitation Agreement is attached hereto as Exhibit F.

       42.    On February 25, 2003, Frederickson signed a Confidentiality and Non-

Solicitation Agreement with U.S. Bank. A true and correct copy of Frederickson’s

Confidentiality and Non-Solicitation Agreement is attached hereto as Exhibit G.




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      43.    On October 19, 2012, Beumer signed a Confidentiality and Non-Solicitation

Agreement with U.S. Bank. A true and correct copy of Beumer’s Confidentiality and Non-

Solicitation Agreement is attached hereto as Exhibit H.

      44.    In these Confidentiality and Non-Solicitation Agreements (“NSAs”),

Defendants contractually bound themselves, in relevant part, as follows:

             I will treat as confidential all records of U.S. Bank whether in original,
             duplicated, copied, recorded, computerized or other form, that contain or
             refer to confidential or proprietary information of U.S. Bank or its customers
             (collectively “Confidential Information”), including without limitation the
             following:

             (i)     the names, addresses, and telephone numbers of its customers and
                     prospective customers (collectively “customers”), the investment
                     portfolios of its customers and any information concerning customers’
                     past, present, or future investment activities, any documents or
                     records reflecting work in process, and any information relating to
                     U.S. Bank’s customers’ banking or trust relationships, customers’
                     income, net worth or other business or personal financial information;

             (ii)    any information concerning U.S. Bank’s methods, operations,
                     financing, services, pricing information, compensation data, pending
                     projects and proposals, research and development strategies,
                     production reports, financial and marketing information,
                     technological developments, software, computer systems, techniques,
                     processes, as well as policy or procedure manuals or training
                     materials; and

             (iii)   any other secret or confidential information relating to the products,
                     services, customers, sales, technology and business affairs of U.S.
                     Bank.

(Exs. F–H ¶ 1.)

      45.    The NSAs further contain a recognition by Defendants that “such

Confidential Information constitutes a unique and valuable asset of U.S. Bank acquired at

great expense by U.S. Bank and any disclosure or other use of such information other than



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for the sole benefit of U.S. Bank would be wrongful and would cause irreparable harm to

U.S. Bank.” (Exs. F–H ¶ 2.)

       46.    The NSAs further provide that, at any time subsequent to Defendants’

employment with U.S. Bank, Defendants will not remove Confidential Information from

U.S. Bank and “will keep Confidential Information secret and in strict confidence during

and subsequent to my employment with U.S. Bank and will not use any such information

or disclose, either directly or indirectly, any such information to any person, firm,

corporation, association, or other entity,” with certain exceptions that are not relevant here.4

(Exs. F–H ¶ 3.)

       47.    The NSAs further include an agreement by Defendants that, for a period of

one year after termination of employment, they will not:

              directly or indirectly, on behalf of myself or on behalf of any other individual,
              association or entity, as an agent or otherwise:

              (i)     solicit or induce any of the customers of U.S. Bank for whom I
                      directly performed any services or had any direct business contact, to
                      acquire any product or service that currently is provided or under
                      development by U.S. Bank from any entity other than U.S. Bank; or

              (ii)    solicit or induce any of the customers or prospective customers of U.S.
                      Bank, whose identity or other customer specific information I
                      discovered or gained access to as a result of my access to U.S. Bank’s
                      Confidential Information, to acquire any product or service that




4
  As to the language quoted in Paragraphs 46–48 herein, the Agreement between
Frederickson and U.S. Bank contains slightly different wording but is substantively the
same.


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                      currently is provided or under development by U.S. Bank from any
                      entity other than U.S. Bank.

(Exs. F, H ¶ 6; Ex. G ¶ 5.) Most, if not all, of the clients Defendants solicited and/or induced

in violation of paragraph (ii) were clients whose identity or other specific information

Defendants discovered or gained access to as a result of Defendants’ access to U.S. Bank’s

Confidential Information, through its server, located in Minnesota.

       48.    In addition, the NSAs provide that for one year following termination of

employment, Defendants will not “directly or indirectly, encourage, induce or entice any

employee of U.S. Bank to leave U.S. Bank’s employment.” (Exs. F, H ¶ 7; Ex. G ¶ 6.)

       49.    The provisions and restrictions of the NSAs and U.S. Bank’s policies are

reasonable in scope and duration, and are designed to protect U.S. Bank’s legitimate

interests in its customer relationships, goodwill, and protection of its Confidential

Information. This also includes U.S. Bank’s reasonable expectations in the continued

goodwill, protecting customer confidential information, and customer relationships, all of

which U.S. Bank entrusted to Defendants while they were affiliated with U.S. Bank.

       50.    While not imposing undue hardship on Defendants, the NSAs do, in fact,

protect U.S. Bank’s legitimate interests in guarding its customer information, goodwill,

and relationships.

II.    Defendants’ Wrongful Conduct

       51.    Defendants each worked as part of U.S. Bank PWM teams until transitioning

to RBC Wealth Management, a competing financial services firm. Indeed, after




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Defendants’ resignations from U.S. Bank, each immediately affiliated with RBC Wealth

Management.

      52.     Defendants have repeatedly violated their contractual commitments, and

have intentionally and wrongfully attempted to interfere with U.S. Bank’s business

relationships with its valued PWM customers.

      53.     U.S. Bank’s investigation is ongoing, but already 24 customers have

confirmed that they were contacted by one or more of the Defendants during this

timeframe.

      54.     For example, Kirk and Beumer solicited Client A by initiating contact with

and/or otherwise encouraging Client A to transfer business away from U.S. Bank in

violation of each of their NSAs. Client A has been a customer of U.S. Bank since 1992,

and a client of PWM since 2019. Kirk’s and Beumer’s efforts to solicit Client A began

almost immediately after their simultaneous departure from U.S. Bank. Client A confirmed

to U.S. Bank that they had been contacted by Kirk and Beumer as of April 17, 2025.

Despite U.S. Bank’s efforts to retain their business, Client A informed U.S. Bank on April

25, 2025 that they would be moving their business to RBC Wealth Management to work

with Kirk and Beumer.

      55.     Client B confirmed they were contacted by Frederickson, and stated that

Frederickson tried to persuade the client to move their business to RBC Wealth

Management. The customer also shared that Frederickson made disparaging comments

about U.S. Bank, noting the reasons why she left, and warning about her alleged discomfort

with the direction of U.S. Bank, which she claimed was “bad” for U.S. Bank customers.


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       56.    Client C confirmed in writing that they were contacted by Kirk on April 18,

2025, and stated that they would be “considering” their “next steps” after that call.

       57.    Multiple customers reported that the calls they received from Kirk,

Frederickson, and/or Beumer were for the purpose of encouraging the customer to move

their business from U.S. Bank to Defendants’ new employer, RBC Wealth Management.

       58.    Together, since leaving U.S. Bank on April 15, 2025, Defendants have

solicited at least 24 customers, Clients A-X, representing nearly $700 million in assets

under management and millions of dollars in annual revenue.

       59.    Because the identity and contact information of U.S. Bank’s customers are

not public information, and are in fact expressly identified as Confidential Information as

that term is defined in the Agreements, on information and belief, the only way Defendants

could have contacted these customers after their resignation would be if Defendants took

confidential information with them.

       60.    Defendants’ wrongful conduct has caused and will cause substantial

monetary and irreparable harm to U.S. Bank.

       61.    U.S. Bank has suffered irreparable harm and more than $75,000 in damages,

including loss of customer goodwill, lost assets under management and lost commissions

and other revenue, all as a result of Defendants’ wrongful conduct.

                                 CAUSES OF ACTION

                                       COUNT I
                              (BREACH OF CONTRACT)
                                (Against All Defendants)

       62.    U.S. Bank realleges the preceding paragraphs as though fully set forth herein.


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       63.     Defendants’ NSAs formed valid and enforceable contracts, and bound the

parties to their terms.

       64.     The provisions of the NSAs cited above protect U.S. Bank’s legitimate

business interests as well as the interests of its customers.

       65.     As described above, Defendants breached and continue to breach the NSAs

by, without limitation:

               a.     soliciting, inducing, or attempting to solicit or induce customers to
                      leave U.S. Bank after terminating her affiliation with U.S. Bank;

               b.     misappropriating U.S. Bank’s Confidential Information, including
                      confidential client information;

               c.     using U.S. Bank’s Confidential Information to solicit or induce or
                      attempt to solicit customers, divert or direct business away from U.S.
                      Bank, or for other purposes not authorized by U.S. Bank; and

       66.     Defendants breach of the NSAs has caused and will continue to cause U.S.

Bank monetary damages and irreparable harm, including but not limited to, loss of

customer relationships and goodwill and the misappropriation of its Confidential

Information.

       67.     U.S. Bank has been damaged in an amount to be determined at trial and is

entitled to injunctive relief.

                              COUNT II
        (TORTIOUS INTERFERENCE WITH BUSINESS EXPECTANCY)
                        (Against All Defendants)

       68.     U.S. Bank realleges the preceding paragraphs as though fully set forth herein.

       69.     U.S. Bank had (and continues to have) a valid expectation of business

relationships with its customers, including, but not limited to, Clients A-X and any other


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customers that Defendants have solicited or induced to transfer their accounts. U.S. Bank

had (and continues to have) an expectation that these relationships will provide a future

economic benefit as well as a benefit for U.S. Bank clients.

       70.     Defendants knew that U.S. Bank had (and continues to have) a valid

expectation of business relationships with its customers, including, but not limited to,

Clients A-X and any other customers that Defendants have contacted since their departure.

       71.     But for the conduct of Defendants, U.S. Bank was reasonably certain to have

continued its business relationships with its customers, including, but not limited to, Clients

A-X and any other customers that Defendants have contacted.

       72.     Defendants intentionally and wrongfully interfered with U.S. Bank’s valid

expectation of business relationships, without justification, as described above.

       73.     Defendants’ interference with U.S. Bank’s business expectations has caused

and will continue to cause U.S. Bank monetary damages and irreparable harm, including

but not limited to, loss of customer relationships and goodwill.

       74.     U.S. Bank has been damaged in an amount to be determined at trial and is

entitled to injunctive relief.

                               COUNT III
          (TORTIOUS INTERFERENCE WITH BUSINESS RELATIONS)
                         (Against All Defendants)

       75.     U.S. Bank realleges the preceding paragraphs as though fully set forth herein.

       76.     U.S. Bank had (and continues to have) valid business relationships with its

customers, including, but not limited to, Clients A-X and any other customers that

Defendants have solicited.


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       77.     Defendants knew that U.S. Bank had (and continues to have) valid business

relationships with its customers, including, but not limited to, Clients A-X and other

customers that Defendants have contacted in violation of Defendants’ NSAs.

       78.     Defendants intentionally and wrongfully interfered with U.S. Bank’s valid

business relationships, without justification, as described above.

       79.     Defendants’ interference with U.S. Bank’s business relationships has caused

and will continue to cause U.S. Bank monetary damages and irreparable harm, including

but not limited to loss of customer relationships and goodwill.

       80.     U.S. Bank has been damaged in an amount to be determined at trial and is

entitled to injunctive relief.

                                 DEMAND FOR JURY TRIAL

       Pursuant to Federal Rule of Civil Procedure 38, U.S. Bank requests a trial by jury

on all issues so triable.

                                   PRAYER FOR RELIEF

       WHEREFORE, U.S. Bank prays for the following relief:

       1.      A Temporary Restraining Order, pending a hearing and ruling on U.S.
               Bank’s request for a preliminary injunction, ordering as follows:

               a.     enjoining Defendants, and all persons in active concert or
                      participation with them (including any persons employed by
                      Defendants), from directly or indirectly engaging in any further
                      business activities which violate Defendants’ contracts with U.S.
                      Bank, including but not limited to the solicitation of U.S. Bank
                      customers and the use or disclosure of U.S. Bank Confidential
                      Information.

       2.      Compensatory damages, in an amount to be determined at trial;

       3.      Attorneys’ fees and costs; and


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     4.     Other relief that the Court may deem appropriate.


Dated: April 30, 2025                      MASLON LLP


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